     Case 8:25-cv-01193-ADS       Document 1     Filed 06/02/25    Page 1 of 11 Page ID #:1



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 4
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 5   JULIO CRUZ
 6
 7                              UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
     JULIO CRUZ,                                      Case No.:
10
                  Plaintiff,                          COMPLAINT FOR INJUNCTIVE
11                                                    RELIEF AND DAMAGES FOR DENIAL
           vs.                                        OF CIVIL RIGHTS OF A DISABLED
12                                                    PERSON IN VIOLATIONS OF
13                                                    1. AMERICANS WITH DISABILITIES
                                                      ACT, 42 U.S.C. §12131 et seq.;
14   JV AUTO REPAIR, INC.; RKMLW
     TORCH, LLC; and DOES 1 to 10,                    2. CALIFORNIA’S UNRUH CIVIL
15                                                    RIGHTS ACT;
                  Defendants.
16                                                    3. CALIFORNIA’S DISABLED
                                                      PERSONS ACT;
17
                                                      4. CALIFORNIA HEALTH & SAFETY
18                                                    CODE;
19                                                    5. NEGLIGENCE
20
21
22         Plaintiff JULIO CRUZ (“Plaintiff”) complains of Defendants JV AUTO REPAIR,
23   INC.; RKMLW TORCH, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
24                                             PARTIES
25         1.     Plaintiff is a California resident with a physical disability. Plaintiff suffers
26   from paraplegia and is substantially limited in his ability to walk. Plaintiff requires the
27   use of a wheelchair at all times when traveling in public.
28




                                            COMPLAINT - 1
     Case 8:25-cv-01193-ADS       Document 1     Filed 06/02/25   Page 2 of 11 Page ID #:2




 1            2.   Defendants are, or were at the time of the incident, the real property owners,
 2   business operators, lessors and/or lessees of the real property for an auto repair shop
 3   (“Business”) located at or about 1609 W Lincoln Ave, Anaheim, California.
 4            3.   The true names and capacities, whether individual, corporate, associate or
 5   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7   Court to amend this Complaint when the true names and capacities have been
 8   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
 9   fictitiously named Defendants are responsible in some manner, and therefore, liable to
10   Plaintiff for the acts herein alleged.
11            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14   the things alleged herein was acting with the knowledge and consent of the other
15   Defendants and within the course and scope of such agency or employment relationship.
16            5.   Whenever and wherever reference is made in this Complaint to any act or
17   failure to act by a defendant or Defendants, such allegations and references shall also be
18   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19   and severally.
20                                 JURISDICTION AND VENUE
21            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23   seq.).
24            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25   arising from the same nucleus of operating facts, are also brought under California law,
26   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27   54, 54., 54.3 and 55.
28            8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



                                              COMPLAINT - 2
     Case 8:25-cv-01193-ADS       Document 1     Filed 06/02/25    Page 3 of 11 Page ID #:3




 1         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 2   property which is the subject of this action is located in this district, Orange County,
 3   California, and that all actions complained of herein take place in this district.
 4                                     FACTUAL ALLEGATIONS
 5         10.    In or about March of 2025, Plaintiff went to the Business.
 6         11.    The Business is an auto repair shop business establishment, open to the
 7   public, and is a place of public accommodation that affects commerce through its
 8   operation. Defendants provide parking spaces for customers.
 9         12.    While attempting to enter the Business during each visit, Plaintiff personally
10   encountered a number of barriers that interfered with his ability to use and enjoy the
11   goods, services, privileges, and accommodations offered at the Business.
12         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
13   included, but were not limited to, the following:
14                a.     Defendants failed to comply with the federal and state standards for
15                       the parking space designated for persons with disabilities. Defendants
16                       failed to provide the parking space identification sign with the
17                       International Symbol of Accessibility.
18                b.     Defendants failed to comply with the federal and state standards for
19                       the parking space designated for persons with disabilities. Defendants
20                       failed to post required signage such as “Van Accessible,” “Minimum
21                       Fine $250” and “Unauthorized Parking.”
22         14.    These barriers and conditions denied Plaintiff the full and equal access to the
23   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
24   patronize the Business; however, Plaintiff is deterred from visiting the Business because
25   his knowledge of these violations prevents him from returning until the barriers are
26   removed.
27         15.    Based on the violations, Plaintiff alleges, on information and belief, that
28   there are additional barriers to accessibility at the Business after further site inspection.



                                            COMPLAINT - 3
     Case 8:25-cv-01193-ADS      Document 1     Filed 06/02/25     Page 4 of 11 Page ID #:4




 1   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 2   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 3         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 4   knew that particular barriers render the Business inaccessible, violate state and federal
 5   law, and interfere with access for the physically disabled.
 6         17.    At all relevant times, Defendants had and still have control and dominion
 7   over the conditions at this location and had and still have the financial resources to
 8   remove these barriers without much difficulty or expenses to make the Business
 9   accessible to the physically disabled in compliance with ADDAG and Title 24
10   regulations. Defendants have not removed such barriers and have not modified the
11   Business to conform to accessibility regulations.
12                                     FIRST CAUSE OF ACTION
13          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
14         18.    Plaintiff incorporates by reference each of the allegations in all prior
15   paragraphs in this complaint.
16         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
17   shall be discriminated against on the basis of disability in the full and equal enjoyment of
18   the goods, services, facilities, privileges, advantages, or accommodations of any place of
19   public accommodation by any person who owns, leases, or leases to, or operates a place
20   of public accommodation. See 42 U.S.C. § 12182(a).
21         20.    Discrimination, inter alia, includes:
22                a.     A failure to make reasonable modification in policies, practices, or
23                       procedures, when such modifications are necessary to afford such
24                       goods, services, facilities, privileges, advantages, or accommodations
25                       to individuals with disabilities, unless the entity can demonstrate that
26                       making such modifications would fundamentally alter the nature of
27                       such goods, services, facilities, privileges, advantages, or
28                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).



                                           COMPLAINT - 4
     Case 8:25-cv-01193-ADS   Document 1      Filed 06/02/25    Page 5 of 11 Page ID #:5




 1              b.    A failure to take such steps as may be necessary to ensure that no
 2                    individual with a disability is excluded, denied services, segregated or
 3                    otherwise treated differently than other individuals because of the
 4                    absence of auxiliary aids and services, unless the entity can
 5                    demonstrate that taking such steps would fundamentally alter the
 6                    nature of the good, service, facility, privilege, advantage, or
 7                    accommodation being offered or would result in an undue burden. 42
 8                    U.S.C. § 12182(b)(2)(A)(iii).
 9              c.    A failure to remove architectural barriers, and communication barriers
10                    that are structural in nature, in existing facilities, and transportation
11                    barriers in existing vehicles and rail passenger cars used by an
12                    establishment for transporting individuals (not including barriers that
13                    can only be removed through the retrofitting of vehicles or rail
14                    passenger cars by the installation of a hydraulic or other lift), where
15                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
16              d.    A failure to make alterations in such a manner that, to the maximum
17                    extent feasible, the altered portions of the facility are readily
18                    accessible to and usable by individuals with disabilities, including
19                    individuals who use wheelchairs or to ensure that, to the maximum
20                    extent feasible, the path of travel to the altered area and the
21                    bathrooms, telephones, and drinking fountains serving the altered
22                    area, are readily accessible to and usable by individuals with
23                    disabilities where such alterations to the path or travel or the
24                    bathrooms, telephones, and drinking fountains serving the altered area
25                    are not disproportionate to the overall alterations in terms of cost and
26                    scope. 42 U.S.C. § 12183(a)(2).
27        21.   Where parking spaces are provided, accessible parking spaces shall be
28   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every



                                         COMPLAINT - 5
     Case 8:25-cv-01193-ADS      Document 1     Filed 06/02/25   Page 6 of 11 Page ID #:6




 1   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 2   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 3   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 4   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
 5         22.    Under the ADA, the method and color of marking are to be addressed by
 6   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 7   Building Code (“CBC”), the parking space identification signs shall include the
 8   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 9   with a minimum area of 70 square inches. Additional language or an additional sign
10   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
11   parking space identification sign shall be permanently posted immediately adjacent and
12   visible from each parking space, shall be located with its centerline a maximum of 12
13   inches from the centerline of the parking space and may be posted on a wall at the
14   interior end of the parking space. See CBC § 11B-502.6, et seq.
15         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
16   each entrance to an off-street parking facility or immediately adjacent to on-site
17   accessible parking and visible from each parking space. The additional sign shall not be
18   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
19   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
20   designated accessible spaces not displaying distinguishing placards or special license
21   plates issued for persons with disabilities will be towed always at the owner’s expense…”
22   See CBC § 11B-502.8, et seq.
23         24.    Here, Defendants failed to provide the parking space identification sign with
24   the International Symbol of Accessibility. In addition, Defendants failed to provide the
25   signs stating “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
26   to provide the additional sign with the specific language stating “Unauthorized vehicles
27   parked in designated accessible spaces not displaying distinguishing placards or special
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                                           COMPLAINT - 6
     Case 8:25-cv-01193-ADS        Document 1     Filed 06/02/25   Page 7 of 11 Page ID #:7




 1   license plates issued for persons with disabilities will be towed always at the owner’s
 2   expense…”
 3         25.      A public accommodation shall maintain in operable working condition those
 4   features of facilities and equipment that are required to be readily accessible to and usable
 5   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 6         26.      By failing to maintain the facility to be readily accessible and usable by
 7   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 8   regulations.
 9         27.      The Business has denied and continues to deny full and equal access to
10   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
11   discriminated against due to the lack of accessible facilities, and therefore, seeks
12   injunctive relief to alter facilities to make such facilities readily accessible to and usable
13   by individuals with disabilities.
14                                 SECOND CAUSE OF ACTION
15                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
16         28.      Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         29.      California Civil Code § 51 states, “All persons within the jurisdiction of this
19   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
20   national origin, disability, medical condition, genetic information, marital status, sexual
21   orientation, citizenship, primary language, or immigration status are entitled to the full
22   and equal accommodations, advantages, facilities, privileges, or services in all business
23   establishments of every kind whatsoever.”
24         30.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
25   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
26   for each and every offense for the actual damages, and any amount that may be
27   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
28   amount of actual damage but in no case less than four thousand dollars ($4,000) and any



                                             COMPLAINT - 7
     Case 8:25-cv-01193-ADS       Document 1      Filed 06/02/25   Page 8 of 11 Page ID #:8




 1   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2   person denied the rights provided in Section 51, 51.5, or 51.6.
 3         31.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5   shall also constitute a violation of this section.”
 6         32.    The actions and omissions of Defendants alleged herein constitute a denial
 7   of full and equal accommodation, advantages, facilities, privileges, or services by
 8   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10   51 and 52.
11         33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13   damages as specified in California Civil Code §55.56(a)-(c).
14                                  THIRD CAUSE OF ACTION
15                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16         34.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19   entitled to full and equal access, as other members of the general public, to
20   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25   places of public accommodations, amusement, or resort, and other places in which the
26   general public is invited, subject only to the conditions and limitations established by
27   law, or state or federal regulation, and applicable alike to all persons.
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                                             COMPLAINT - 8
     Case 8:25-cv-01193-ADS      Document 1      Filed 06/02/25   Page 9 of 11 Page ID #:9




 1         36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2   corporation who denies or interferes with admittance to or enjoyment of public facilities
 3   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5   the actual damages, and any amount as may be determined by a jury, or a court sitting
 6   without a jury, up to a maximum of three times the amount of actual damages but in no
 7   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8   determined by the court in addition thereto, suffered by any person denied the rights
 9   provided in Section 54, 54.1, and 54.2.
10         37.    California Civil Code § 54(d) specifies, “a violation of the right of an
11   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12   constitute a violation of this section, and nothing in this section shall be construed to limit
13   the access of any person in violation of that act.
14         38.    The actions and omissions of Defendants alleged herein constitute a denial
15   of full and equal accommodation, advantages, and facilities by physically disabled
16   persons within the meaning of California Civil Code § 54. Defendants have
17   discriminated against Plaintiff in violation of California Civil Code § 54.
18         39.    The violations of the California Disabled Persons Act caused Plaintiff to
19   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20   statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                FOURTH CAUSE OF ACTION
22                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23         40.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         41.    Plaintiff and other similar physically disabled persons who require the use of
26   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27   such facility is in compliance with the provisions of California Health & Safety Code §
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                                            COMPLAINT - 9
     Case 8:25-cv-01193-ADS        Document 1    Filed 06/02/25   Page 10 of 11 Page ID #:10




 1    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2    provisions of California Health & Safety Code § 19955 et seq.
 3           42.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4    that public accommodations or facilities constructed in this state with private funds
 5    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6    Title 1 of the Government Code. The code relating to such public accommodations also
 7    require that “when sanitary facilities are made available for the public, clients, or
 8    employees in these stations, centers, or buildings, they shall be made available for
 9    persons with disabilities.
10           43.    Title II of the ADA holds as a “general rule” that no individual shall be
11    discriminated against on the basis of disability in the full and equal enjoyment of goods
12    (or use), services, facilities, privileges, and accommodations offered by any person who
13    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14    Further, each and every violation of the ADA also constitutes a separate and distinct
15    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16    award of damages and injunctive relief pursuant to California law, including but not
17    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                    FIFTH CAUSE OF ACTION
19                                          NEGLIGENCE
20           44.    Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22           45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24    to the Plaintiff.
25           46.    Defendants breached their duty of care by violating the provisions of ADA,
26    Unruh Civil Rights Act and California Disabled Persons Act.
27           47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28    has suffered damages.



                                             COMPLAINT - 10
     Case 8:25-cv-01193-ADS      Document 1     Filed 06/02/25   Page 11 of 11 Page ID #:11




 1                                     PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3    Defendants as follows:
 4          1.     For preliminary and permanent injunction directing Defendants to comply
 5    with the Americans with Disability Act and the Unruh Civil Rights Act;
 6          2.     Award of all appropriate damages, including but not limited to statutory
 7    damages, general damages and treble damages in amounts, according to proof;
 8          3.     Award of all reasonable restitution for Defendants’ unfair competition
 9    practices;
10          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11    action;
12          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13          6.     Such other and further relief as the Court deems just and proper.
14                               DEMAND FOR TRIAL BY JURY
15          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16    demands a trial by jury on all issues so triable.
17
18    Dated: June 2, 2025                     SO. CAL. EQUAL ACCESS GROUP
19
20
21                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
22                                                   Attorneys for Plaintiff
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                                            COMPLAINT - 11
